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                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT


                                                STATUS REPORT



          No. 23-1712,                 Ralph Fallows, III v. Coastal Carolina University
                                       4:19-cv-001182-JD

                  Pursuant to the Notice issued on July 21, 2023, Plaintiff-Appellant writes to inform the

        Court that the district court proceedings remain unresolved, thus preventing the appeal from

        proceeding at this time.

                                                       RESPECTFULLY SUBMITTED:

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